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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

                                                             )
KATHEENA NEVIA SONEEYA, f/k/a                                )
Kenneth Hunt,                                                )
                                                             )
                          Plaintiff,                         )
                                                             )
v.                                                           )        Civil Action No. 07-12325-DPW
                                                             )
THOMAS A. TURCO III, in his official                         )
capacity as Commissioner of the                              )
Massachusetts Department of Correction,                      )
                                                             )
                          Defendant.                         )
                                                             )


     PLAINTIFF’S RENEWED MOTION TO COMPEL COMPLIANCE WITH THE COURT’S
        MARCH 29, 2012 PERMANENT INJUNCTION AND MAY 12, 2014 ORDER

        Ms. Soneeya respectfully requests that the Court compel the Massachusetts Department of

Correction (“DOC”) to comply with this Court’s March 29, 2012 Permanent Injunction (the “2012

PI”) and May 12, 2014 order (the “2014 Order”) and promptly (i) implement Dr. Ettner’s

recommended treatment plan, or to otherwise provide Ms. Soneeya with gender confirmation

surgery immediately; or (ii) in the alternative, transfer Ms. Soneeya to MCI-Framingham for a

period of one year prior to surgery as recommended by the GD Treatment Committee.1

        In support of her motion, Ms. Soneeya relies on the accompanying Pre-Trial Memorandum

and Renewed Motion to Compel Compliance. As explained therein, trial will demonstrate that the

DOC has failed to comply with this Court’s 2012 PI and 2014 Order. Accordingly, this Court

should grant Ms. Soneeya’s motion and compel the DOC to provide Ms. Soneeya with gender



1
  Ms. Soneeya maintains that, under a proper application of the SOC, she requires GCS now and does not agree that
transfer to prior to surgery is an appropriate application of the SOC. Ms. Soneeya would agree to transfer prior to
surgery only as a means to satisfy the GD Treatment Committee’s novel transfer requirement and obtain surgery.
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confirmation surgery now, or, in the alterative, immediately transfer her to MCI-Framingham for

a period of one year prior to surgery.




Dated: March 25, 2019                               Respectfully submitted,


                                                    /s/ Anne F. Hancock
                                                    Anne F. Hancock (BBO # 691884)
                                                    Sara A. Bellin (BBO # 698900)
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                                                    Attorneys for Plaintiff Katheena Soneeya




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        LOCAL RULE 7.1 CERTIFICATION AND CERTIFICATE OF SERVICE

       I hereby certify that I have contacted Jennifer Staples, counsel for Defendant, and after

conferring in good faith, we were unable to resolve or narrow the issues presented in this motion.

       I further certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).




Dated: March 25, 2019                                                /s/ Anne F. Hancock
                                                                     Anne F. Hancock
